      Case: 1:19-cv-03544 Document #: 50 Filed: 09/25/19 Page 1 of 2 PageID #:1171




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 MOVADO GROUP, INC. AND
 MOVADO LLC,

                Plaintiffs,

 v.                                                  CIVIL ACTION NO. 1:19-cv-03544

                                                     District Judge Ronald A. Guzman
 Aaawatch007, et al.,                                Magistrate Judge Jeffrey Cummings

                Defendants.

                                   NOTICE OF DISMISSAL
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs dismiss this action

with prejudice as to the following Defendants:


               Defendant’s Name                                Line of Schedule A


 Excellent Watches LLC                                                  33


 Shine Web                                                              24



These Defendants have neither served an answer or a motion for summary judgment.




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  Case: 1:19-cv-03544 Document #: 50 Filed: 09/25/19 Page 2 of 2 PageID #:1171



Dated: September 25, 2019


                                          /s/ Bart Rankin
                                         Shima Roy
                                         shima.roy@bakermckenzie.com
                                         BAKER McKENZIE
                                         300 East Randolph Street, Suite 5000
                                         Chicago, Illinois 60601
                                         Telephone: 312-861-8000
                                         Facsimile: 312-861-2899

                                         W. Bart Rankin (admitted pro hac vice)
                                         w.rankin@bakermckenzie.com
                                         BAKER McKENZIE
                                         1900 North Pearl Street, Suite 1500
                                         Dallas, Texas, 75201
                                         Telephone: 214-978-3000
                                         Facsimile: 214-978-3099

                                         ATTORNEYS FOR MOVADO GROUP, INC.
                                         AND MOVADO LLC




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